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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-03309-BNB
  (The above civil action number must appear on all future papers
   sent to the court in this action. Failure to include this number
   may result in a delay in the consideration of your claims.)

  MARTIN THOMAS WIRTH,

         Plaintiff,
  c
  v.

  THE STATE OF COLORADO,
  JOHN HICKENLOOPER, In his Official Capacity as Governor of Colorado,
  JOHN SUTHERS, In his Official Capacity as Attorney General of Colorado,
  STEPHEN A. GROOME, In his Official Capacity as 11th District Court Judge,
  NATIONSTAR, LLC,
  LARRY CASTLE, In his Corporate and Individual Capacities, and
  CASTLE STAWIARSKI, LLC,

         Defendant.


                 ORDER DIRECTING PLAINTIFF TO CURE DEFICIENCIES


         Plaintiff, Martin Thomas Wirth, currently resides in Bailey, Colorado. Plaintiff has

  submitted a Complaint and a Motion and Affidavit for Leave to Proceed Pursuant to 28

  U.S.C. § 1915. As part of the Court’s review pursuant to D.C.COLO.LCivR 8.1, the

  Court has determined that the submitted documents are deficient as described in this

  Order. Plaintiff will be directed to cure the following if he wishes to pursue his claims.

  Any papers that Plaintiff files in response to this Order must include the civil action

  number on this Order.

  Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915:
  (1)         is not submitted
  (2)         is not on proper form (must use the Court’s current form)
  (3)         is missing original signature by Plaintiff
  (4)         is missing affidavit
  (5)         affidavit is incomplete
  (6)         affidavit is not properly notarized
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  (7)           names in caption do not match names in caption of complaint, petition or
                application
  (8)     X     other: form must be notarized or certified pursuant to 28 U.S.C. § 1746.

  Complaint or Petition:
  (9)         is not submitted
  (10) X      is not on proper form (must use the court’s current form)
  (11)        is missing an original signature by the Plaintiff
  (12)        is incomplete
  (13)        uses et al. instead of listing all parties in caption
  (14) X      names in caption do not match names in text of Complaint
  (15) X      addresses must be provided for all defendants/respondents in “Section A.
              Parties” of complaint, petition or habeas application
  (16)        other:.

  Accordingly, it is

         ORDERED that Plaintiff cure the deficiencies designated above within thirty

  days from the date of this Order. Any papers that Plaintiff files in response to this

  Order must include the civil action number on this Order. It is

         FURTHER ORDERED that Plaintiff shall obtain the Court-approved form used in

  filing a 28 U.S.C. § 1915 motion and affidavit and a complaint, along with the applicable

  instructions, at www.cod.uscourts.gov. It is

         FURTHER ORDERED that if Plaintiff fails to cure the designated deficiencies

  within thirty days from the date of this Order the action will be dismissed without

  further notice.

         DATED December 10, 2013, at Denver, Colorado.

                                           BY THE COURT:

                                           s/Boyd N. Boland
                                           United States Magistrate Judge




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